Case 2:05-cv-00195-RLY-WGH Document 19 Filed 02/22/06 Page 1 of 4 PageID #: 71



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA



 EVERETT GORBETT, II,                       )
                                            )
                      Petitioner,           )
 v.                                         )       No. 2:05-195-RLY-WGH
                                            )
 CRAIG HANKS,                               )
                                            )
                      Respondent.           )




                  Entry Discussing Petition for Writ of Habeas Corpus

        For the reasons explained in this Entry, the petition of Everett Gorbett, II (“Gorbett”)
 for a writ of habeas corpus must be denied and this action is dismissed with prejudice.

                                         Background

        The pleadings and the expanded record in this action establish the following:

        1.      Gorbett is confined at an Indiana prison. He seeks a writ of habeas corpus
 with respect to a prison disciplinary proceeding identified as No. WVE 05-01-0046, wherein
 he was found guilty of having violated prison rules of conduct through his unauthorized
 possession of certain property.

        2.       A conduct report was issued on January 6, 2005, reciting that during a search
 of the cell to which Gorbett was assigned officers found (1) one container of brown sugar
 and (1) one container of raisins.

        3.     After being supplied with a copy of the written charge and notified of his
 procedural rights on January 7, 2005, Gorbett was found guilty at a hearing conducted on
 January 11, 2005, and was sanctioned. His administrative appeal was rejected, and this
 action followed.

       4.     In Gorbett’s petition, he alleges that his rights were violated because: 1) he
 was not permitted to call his witness and his witness’ statement was not provided; and 2)
 the conduct board failed to consider his entire statement at the hearing.
Case 2:05-cv-00195-RLY-WGH Document 19 Filed 02/22/06 Page 2 of 4 PageID #: 72



                                           Discussion

          A federal court may issue a writ of habeas corpus pursuant to 28 U.S.C. § 2254(a)
 only if it finds the applicant “is in custody in violation of the Constitution or laws or treaties
 of the United States.” Id. When a prison disciplinary proceeding results in a sanction which
 affects the expected duration of a prisoner’s confinement, typically through the deprivation
 of earned good-time credits or the demotion in credit earning class, the state may not
 deprive inmates of good-time credits without following constitutionally adequate procedures
 to insure that the credits are not arbitrarily rescinded and habeas corpus is the proper
 remedy. Cochran v. Buss, 381 F.3d 637, 639 (7th Cir. 2004).

        "Prison disciplinary proceedings are not part of a criminal prosecution, and the full
 panoply of rights due a defendant in such proceedings does not apply." Wolff v. McDonnell,
 418 U.S. 539, 556 (1974). In these circumstances, Jordan was entitled to the following
 process before being deprived of his liberty interests: (1) advance (at least 24 hours before
 hearing) written notice of the claimed violation; (2) the opportunity to be heard before an
 impartial decision maker; (3) the opportunity to call witnesses and present documentary
 evidence (when consistent with institutional safety); and (4) a written statement by the fact-
 finder of the evidence relied on and the reasons for the disciplinary action. Rasheed-Bey
 v. Duckworth, 969 F.2d 357, 361 (7th Cir. 1992). In addition, there is a substantive
 component to the issue, which requires that the decision of a conduct board be supported
 by "some evidence." Superintendent v. Hill, 472 U.S. 445 (1985).

         Also, Indiana prisoners must pursue their available administrative remedies before
 filing a habeas petition. Eads v. Hanks, 280 F.3d 728, 729 (7th Cir. 2002); Markham v.
 Clark, 978 F.2d 993, 995 (7th Cir. 1992). The failure to do so, whether pertaining to the
 remedy as a whole or to the inclusion in an administrative appeal each claim which is later
 asserted in a federal habeas petition, constitutes a procedural default. Gorbett could
 overcome this procedural default through a showing of cause and prejudice or that a
 fundamental miscarriage of justice would result if the merits of his claim are not reached.
 Aliwoli v. Gilmore, 127 F.3d 632, 634 (7th Cir. 1997) (citing Coleman v. Thompson, 501
 U.S. 722, 750 (1991)).

        Under Wolff and Hill, Gorbett received all the process to which he was entitled.

        !       The record shows that the charge was clear, that Gorbett received more than
        24 hours advance notice of the hearing, that he appeared at the disciplinary hearing
        and made a statement concerning the charge, that the conduct board set forth in
        writing its findings and the evidence considered, that the statement of the sanctions
        was clear, and that a written reason for the sanctions imposed was made.

        !       The evidence was constitutionally sufficient, consisting of the conduct report
        which recited that a search of Gorbett’s cell at the Wabash Valley Correctional
        Facility on January 6, 2005, revealed the presence of unauthorized property. This
        satisfies the “some evidence” required by due process. Henderson v. United States
        Parole Comm'n, 13 F.3d 1073, 1077 (7th Cir. 1993) (a federal habeas court “will
Case 2:05-cv-00195-RLY-WGH Document 19 Filed 02/22/06 Page 3 of 4 PageID #: 73



        overturn the . . . [conduct board’s] decision only if no reasonable adjudicator could
        have found . . . [the petitioner] guilty of the offense on the basis of the evidence
        presented"), cert. denied, 115 S. Ct. 314 (1994). The "some evidence" standard is
        lenient, "requiring only that the decision not be arbitrary or without support in the
        record." McPherson v. McBride, 188 F.3d 784, 786 (7th Cir. 1999). Indeed, even
        "meager" proof will suffice. Webb v. Anderson, 224 F.3d 649, 652 (7th Cir. 2000).
        In this case, the conduct report fulfills the “some evidence” requirement of Hill. It
        does so by reciting the circumstances under which unauthorized property was found
        by prison staff in the cell assigned to Gorbett. Although the evidence before the
        disciplinary board must "point to the accused's guilt," Lenea v. Lane, 882 F.2d 1171,
        1175 (7th Cir. 1989), “only evidence that was presented to the Adjustment
        Committee is relevant to this analysis.” Hamilton v. O'Leary, 976 F.2d 341, 346 (7th
        Cir. 1992); see also Hill, 472 U.S. at 457 ("The Federal Constitution does not require
        evidence that logically precludes any conclusion but the one reached by the
        disciplinary board.").

 Gorbett’s claims otherwise are unavailing here. He first claims that he was deprived of the
 opportunity to present evidence by being denied a witness at the hearing. The expanded
 record, however, shows that Gorbett failed to raise this issue in his administrative appeal
 to the Facility Head. This failure constitutes a procedural default, and Gorbett has not
 attempted to show cause for and prejudice from it. Aside from this unexplained and
 unexcused procedural default, moreover, Gorbett has not identified the absent witness, has
 not described what information that person could have contributed, and has not explained
 how the absence of information which that person could have provided resulted in any
 prejudice to Gorbett. Thus, there was no error in proceeding without a witness who Gorbett
 does not appear even to have requested. Gorbett next argues that the conduct board failed
 to consider his full statement. This contention of error is apparently based on the view that
 the conduct board would have credited Gorbett’s exculpatory statement if they had fully
 considered it, but that is not the case, and the conduct board was under no obligation to
 side with Gorbett in weighing the evidence. Webb v. Anderson, 224 F.3d 649, 652 (7th Cir.
 2000) (even “meager” proof is sufficient); see also Hill, 472 U.S. at 457 ("The Federal
 Constitution does not require evidence that logically precludes any conclusion but the one
 reached by the disciplinary board."). The weighing of conflicting evidence is a task of the
 factfinder, not a federal court exercising habeas corpus jurisdiction. See Meeks v. McBride,
 81 F.3d 717, 720 (7th Cir. 1996) (“because the ‘some evidence’ standard . . . does not
 permit courts to consider the relative weight of the evidence presented to the disciplinary
 board, it is ‘[g]enerally immaterial that an accused prisoner presented exculpatory evidence
 unless that evidence directly undercuts the reliability of the evidence on which the
 disciplinary authority relied’ on support of its conclusion”)(quoting Viens v. Daniels, 871
 F.2d 1328, 1335 (7th Cir. 1989))

                                         Conclusion

         "The touchstone of due process is protection of the individual against arbitrary action
 of the government." Wolff, 418 U.S. at 558. There was no arbitrary action in any aspect of
 the charge, disciplinary proceedings, or sanctions involved in the events identified in this
Case 2:05-cv-00195-RLY-WGH Document 19 Filed 02/22/06 Page 4 of 4 PageID #: 74



 action, and there was no constitutional infirmity in the proceeding which entitles Gorbett to
 the relief he seeks. Accordingly, his petition for a writ of habeas corpus shows on its face
 that he is not entitled to the relief he seeks. That petition must be denied and the action
 dismissed. Judgment consistent with this Entry shall now issue.

         IT IS SO ORDERED.



                                                _______________________________
 Date:    02/22/2006                             RICHARD L. YOUNG, JUDGE
                                                 United States District Court
                                                 Southern District of Indiana
